                     Case 3:10-cr-00371-WHA Document 70-1 Filed 10/03/13 Page 1 of 3


            1    MICHAEL LI-MING WONG, SBN 194130
                   mwong@gibsondunn.com
            2    THAD A. DAVIS, SBN 220503
                   tadavis@gibsondunn.com
            3    KYLE A. WITHERS, SBN 269459
                   kwithers@gibsondunn.com
            4    GIBSON, DUNN & CRUTCHER LLP
                 555 Mission Street, Suite 3000
            5    San Francisco, CA 94105-0921
                 Telephone: 415.393.8200
            6    Facsimile: 415.393.8306
            7    Attorneys for Defendant ALVIN K. ONO
            8                                UNITED STATES DISTRICT COURT
            9                             NORTHERN DISTRICT OF CALIFORNIA
           10                                    SAN FRANCISCO DIVISION
           11    UNITED STATES OF AMERICA,                  CR 10-0371-WHA
           12                       Plaintiff,
           13          v.                                   JOINT STIPULATION IN SUPPORT OF
                                                            DEFENDANT’S MOTION TO RELEASE
           14    ALVIN K. ONO,                              UNDER SEAL RECORDS TO
                                                            DEFENDANT’S COUNSEL
           15                       Defendant.
           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                 JOINT STIPULATION ISO DEFENDANT’S MOTION TO RELEASE UNDER SEAL RECORDS TO DEFENDANT’S
                                             COUNSEL; CASE NO. CR 10-0371-WHA
                      Case 3:10-cr-00371-WHA Document 70-1 Filed 10/03/13 Page 2 of 3


            1     JOINT STIPULATION IN SUPPORT OF DEFENDANT’S MOTION TO RELEASE
            2                      UNDER SEAL RECORDS TO DEFENDANT’S COUNSEL
            3              Defendant Alvin K. Ono (“Defendant”) and the Government hereby submit this stipulation,
            4    pursuant to Civil Local Rule 7-11(b), in support of Defendant’s Motion to Release Under Seal
            5    Records to Defendant’s Counsel so that Counsel may keep accurate records of court proceedings as
            6    they pertain to Defendant. The parties understand that Defendant’s Motion requests the release of the
            7    following orders to Defendant’s counsel but does not otherwise change the under seal status of the
            8    orders:
            9                 1. Docket Entry 49: January 29, 2013 Sealed Document as to Alvin Ono;
           10                 2. Docket Entry 50: January 29, 2013 Sealed Document as to Alvin Ono;
           11                 3. Docket Entry 51: January 29, 2013 Sealed Document as to Alvin Ono;
           12                 4. Docket Entry 52: January 29, 2013 Sealed Document as to Alvin Ono;
           13                 5. Docket Entry 53: January 29, 2013 Sealed Document as to Alvin Ono;
           14                 6. Docket Entry 54: January 29, 2013 Sealed Document as to Alvin Ono;
           15                 7. Docket Entry 55: January 29, 2013 Sealed Document as to Alvin Ono;
           16                 8. Docket Entry 56: January 29, 2013 Sealed Document as to Alvin Ono;
           17                 9. Docket Entry 57: January 29, 2013 Sealed Document as to Alvin Ono;
           18                 10. Docket Entry 58: January 29, 2013 Sealed Document as to Alvin Ono;
           19                 11. Docket Entry 59: February 6, 2013 Sealed Document as to Alvin Ono;
           20                 12. Docket Entry 60: January 29, 2013 Sealed Document as to Alvin Ono;
           21                 13. Docket Entry 61: February 6, 2013 Sealed Document as to Alvin Ono;
           22                 14. Docket Entry 62: February 6, 2013 Sealed Document as to Alvin Ono;
           23                 15. Docket Entry 63: February 6, 2013 Sealed Document as to Alvin Ono; and
           24                 16. Docket Entry 64: July 12, 2013 Sealed Document as to Alvin Ono.
           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                 JOINT STIPULATION ISO DEFENDANT’S MOTION TO RELEASE UNDER SEAL RECORDS TO DEFENDANT’S
                                             COUNSEL; CASE NO. CR 10-0371-WHA
                     Case 3:10-cr-00371-WHA Document 70-1 Filed 10/03/13 Page 3 of 3


            1    Dated: October 3, 2013
                                                             MICHAEL LI-MING WONG
            2                                                THAD A. DAVIS
                                                             KYLE A. WITHERS
            3                                                GIBSON, DUNN & CRUTCHER LLP
            4

            5                                                By__/s/Michael Li-Ming Wong________
                                                             Michael Li-Ming Wong
            6
                                                             Attorneys for Defendant ALVIN K. ONO
            7

            8                                                TIMOTHY J. LUCEY
                                                             ASSISTANT U.S. ATTORNEY
            9

           10
                                                             By __/s/Timothy J. Lucey (with permission)
           11                                                Timothy J. Lucey
           12                                                Attorney for the United States
           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                           2
Crutcher LLP
                             DEFENDANT’S MOTION FOR DEPARTURE AND SENTENCING MEMORANDUM
                                                 CASE NO. CR 10-0371-WHA
